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Attorney for the Debtors
and Debtor-in-Possession

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UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA

 

In re:

TRACY LEE HURST-CASTL,

Debtor.

 

THE LAW OFFICES OF KRISTINA
WILDEVELD & ASSOCIATES, A

NEVADA LIMITED LIABILITY
COMPANY,

Plaintiff,

Vs.

TRACY LEE HURST-CASTL,

Defendant.

Case No.: 23-10410-MKN
Small Business Subchapter V
Chapter 11

Adv. No: 23-01089

DEFENDANT TRACY LEE HURST-
CASTL’S AMEMDED COUNTERCLAIM

 

TRACY LEE HURST-CASTL
Counterclaimant,

LISA A. RASMUSSEN, ESQ., an Individual
KRISTINA WILDEVELD, ESQ., an
Individual,

 

Counter Defendants.

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DEFENDANT TRACY LEE HURST-CASTL’S AMEMDED COUNTERCLAIM

COMES NOW Debtor TRACY LEE HURST-CASTL, by and through her attorney

Steven L. Yarmy, Esq., and hereby files her Amended Counterclaim as follows:
PARTIES

1. Plaintiff/Counter Defendant THE LAW OFFICES OF KRISTINA WILDEVELD
& ASSOCIATES, A NEVADA LIMITED LIABILITY COMPANY is a limited liability
company registered with the State of Nevada, operating its business out of Las Vegas, Nevada.

2. Counter Defendant LISA A. RASMUSSEN, Esq. is a resident of Clark County,
Nevada.

3. KRISTINA WILDEVELD, Esq. is a resident of Clark County, Nevada.

4. Defendant/Counterclaimant is a resident of the State of Nevada and is a debtor in
the underlying Chapter 11 Proceeding No. 23-10410-mkn, filed on February 4, 2023.

AMENDED COUNTERCLAIM

COMES NOW Defendant/Counterclaimant TRACY LEE HURST-CASTL (hereinafter
“Counterclaimant”), by and through her attorney Steven L. Yarmy, Esq., and hereby
Counterclaims against the Plaintiff/Counter Defendant THE LAW OFFICES OF KRISTINA
WILDEVELD & ASSOCIATES as follows:

GENERAL ALLEGATIONS

l. Counterclaimant was suffering serious post-operative complications and
developed a chronic infection, undergoing the first emergency surgery on March 29, 2019, then
hospitalized for 5 days. The Counterclaimant’s condition worsened and underwent a second

emergency surgery on June 25, 2019.

 
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2. On November 14, 2019, Counterclaimant was hospitalized again with
osteomyelitis, a rare bone infection that progressed into life threatening sepsis. Counterclaimant
underwent a third emergency surgery where the surgeons removed a portion of her skull when
they discovered that a screw and sponge was left in her head from the prior Cedar Sinai
surgeons, then Counterclaimant remained hospitalized for 2 weeks and was discharged on home
nursing care receiving daily IV antibiotic for 8 weeks.

3. On April 7, 2020, Ms. Wildeveld was introduced to Counterclaimant through a
mutual friend Dr. Stephanie Youngblood over the phone. Dr. Youngblood stated she trusted Ms.
Wildeveld to handle Counterclaimant’s medical malpractice matter and would take special care
as her friend, trusting her ability to protect her being that she was weak, disabled, and extremely
compromised medically and cognitively.

4. On April 9, 2020, during the initial consultation with Ms. Wildeveld and Ms.
Rasmussen they both stated that they are licensed in California and would initiate her medical
malpractice complaint from their Los Angeles office.

5. Initially Counterclaimant did not discuss the PennyMac civil case with Ms.
Wildeveld when they initially spoke by phone; Counterclaimant already had legal counsel
retained for that case. Mr. Thomas Michaelidis was retained one year prior to her introduction to
Ms. Wildeveld, in March 2019.

6. The initial discussion with Wildeveld was only for a consultation concerning
Counterclaimants medical malpractice case

7. At the initial consultation Ms. Wildeveld introduced Counterclaimant to Ms.
Rasmussen, stating she would be working on the case she handles the civil cases in her office

and Ms. Wildeveld only practices criminal law.

 
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8. On April 7, 2020, Counterclaimant’s initial introduction to Ms. Wildeveld was by
phone with Dr. Stephanie Youngblood, a mutual friend who was assisting her with finding legal
representation to specifically address her MEDICAL MALPRACTICE MATTER regarding the
gross negligence she suffered from the Cedar Sinai neurosurgeons caused her life threatening
complications post-surgery. Dr. Youngblood put Ms. Wildeveld on the phone she stated that she
is licensed in both California and Nevada and could assist her with the MEDICAL
MALPRACTICE CASE they agreed to meet in her office for a formal consultation free of
charge.

9. Counterclaimant scheduled to meet with Ms. Wildeveld. During their initial
introduction by phone with Dr. Youngblood, they agreed to meet in her office to further discuss
the specifics of the MEDICAL MALPRACTICE. Ms. Wildeveld requested that
Counterclaimant bring her medical records with her.

10. Upon starting the meeting Ms. Wildeveld showed Counterclaimant to her
conference room where Ms. Rasmussen was sitting at the table. They discussed
Counterclaimant’s medical situation, then Counterclaimant took off her cap and showed them
her deformed, concaved forehead with a bandage covering her wound, they both looked horrified
and stated “oh no!” Counterclaimant also informed them that she was still suffering from a
cranial disability that continued to affect her physical, emotional, and cognitive faculties, and she
was still suffering and still under continued care of Dr. Lauren Schwartz and Dr. Arthur
Drossiers who saved her life.

11. During the initial consultation Ms. Wildeveld agreed to represent Counterclaimant
for the MEDICAL MALPRACTICE MATTER on a contingency fee. Then Ms. Rasmussen
handed Counterclaimant a HIPA Release Form, which Counterclaimant signed. Counterclaimant

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then provided her with a hard copy of her most recent hospital stay’s medical records from the
last emergency surgery, performed by the Florida surgeons at Good Samaritan Medical Center.
Counterclaimant handed Ms. Rasmussen her medical records, she then walked out of the room,
returned stating she scanned the records and handed them back to Counterclaimant, but failed to
provide Counterclaimant with a her copy of the HIPA Release Form she signed.

12. During the conversation concerning the MEDICAL MALPRACTICE,
Counterclaimant brought up the PennyMac case that was pending in Nevada state court when
learning that Ms. Wildeveld was her neighbor, she then inquired about her home, knowing that it
has been involved in litigation for many years which then sparked further conversation.
Counterclaimant gave them a short explanation of the pending case with PennyMac then shared
her frustrations about Attorney Thomas Michaelidis’s behavior in handling the case, causing her
unnecessary stress when she belatedly learned he had missed critical deadlines, failed to disclose
her expert witnesses to the court and failed to timely file my her evidence for the Trespassing
Claim, that seemed purposeful. His continued inaction was jeopardizing Counterclaimant’s
ability to prevail in the case. He was clearly taking advantage of Counterclaimant’s debilitating
condition; being so ill Counterclaimant was unable to supervise his activities. Ms. Rasmussen
stated that Mr. Michaelidis has been in trouble before and is not a good attorney; she instilled
fear of loss, and convinced Counterclaimant, he would continue to jeopardize and damage the
case.

13. Between April 9, 2020 and May 1, 2020 after Wildeveld agreed to initiate the
MEDICAL MALPRACTICE CASE from their Los Angeles office and will co-counsel with
“Josh” on a contingency fee. Counterclaimant learned from Dr. Youngblood that Ms. Wildeveld

told her that her associate declined to co-counsel with her on the MEDICAL MALPRACTICE

 
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CASE because he was early in his career and did not want to go against the prominent surgeons
knowing that they were highly respected in the medical and legal community; he felt that it
would stain his reputation.

14. Ms. Wildeveld and Ms. Rasmussen failed to inform her of their associate named
“Josh “declining to work with them intentionally keeping it to themselves. Thereafter
Counterclaimant informed Ms. Rasmussen in a telephone conversation that Dr. Youngblood told
her that Josh declined to associate with them, she was surprised that she was aware of that, then
stated “I know, I don’t understand why” then she told her not to worry that they are looking for
another associate in California to co-counsel.

15. Then on May 1, 2020, Counterclaimant received an email from Ms. Rasmussen
informing her that she and Ms. Wildeveld were in contact with a San Diego Attorney to possibly
co-counsel. Additionally, she requested that she provide her with a detailed timeline of the
medical events leading up to when she discovered malpractice and to provide her with the names
of all the doctors that were involved. Counterclaimant responded timely, emailed her the
timeline and the contact information for the doctor’s that were involved. She also states in this
same email that:

“California also requires that notices go out 90 days prior to filing a lawsuit. It is
statutory requirement. Once the notice is sent, it will toll the one year statute of limitations and
has the effect of extending the statue for 90 days. The notice is basically something that says I
believe you were negligent. More on that in a minute. There have been COVID orders entered
in California that have tolled certain deadlines, but we are not sure when the orders were entered
and if there is an extension to file medical malpractice cases due to COVID. If so that would be
helpful, but the order would have to have been entered prior to March 27, 2020 which is what
Ken thinks your statute of limitations may be. Ken is going to look up this information or both
the state of California and Los Angeles County were your suit would be filed.

16. They discussed whether or not negligence at the subsequent surgeries could be

pursued based on what she learned after the November surgery in Florida. In short, it’s possible,
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but it would be difficult to assess where the damages came from, e. g., first surgery, second

surgery, third surgery, and it would be messy, and we would have to do a cost/benefit analysis as

to whether it is beneficial to proceed.”
17. Wildeveld failed to keep Counterclaimant updated over her concerns and never

definitively answered Counterclaimant or confirmed such, constantly diverting her attention to

the PennyMac case.

18. Counterclaimant trusted that Counter defendant knew what they were doing and
would keep Counterclaimant informed knowing that she was too ill to stay focused on their legal

strategies and research.
19. Ms. Rasmussen also stated in her email on May 1, 2020:

“We decided that we need to get the notices out immediately and send them by certified
mail on Monday. In order to do that, we need to know who to send them to, including doctors,
surgeons, physician assistants. So, please send me an email with as many names as you can
recall and tell me when/where they were involved. We need to be as accurate as possible,
without having your complete medical records.”

20. On May 4, 2020, Counterclaimant received an email from Ms. Malone,

Wildeveld’s Legal Assistant 90-day notices letters. Ms. Malone’s email:

“Good Afternoon, Per our telephone conversation, attached please find the 90-Day
Notice letters for your signature. Please sign and return to our office so that they can be sent
certified mail today. Sincerely, Jessica Malone, Legal Assistant”

21. Ms. Rasmussen drafted 5 letters to the doctors that were involved as follows:

“May 4, 2020 SENT VIA CERTIFIED MAIL
Re: Potential Medical Malpractice Claim of Tracy L. Hurst

Dear Dr. Black,

You are hereby notified, pursuant to section 364 of the California Code of Civil
Procedure, that within ninety (90) or more days from the date of this notice, the above-named
individual intends to commence action against you as a defendant. This Action will be based on
your negligent surgical intervention and/or your failure to timely and/or properly address post-
operative complications resulting from your surgical intervention and/or your failure to provide

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proper post surgical care. As a result of your negligence, J have suffered injury and damage
including, but not limited to, the removal of skull flap, leakage of brain tissue and fluid, severe

infection, and cognitive neurological damage, which was diagnosed on or after November 14,
2019.

Detriment and loss sustained by Tracy Hurst include:

a) Past and future medical and related expenses in a sum not yet fully ascertained

b) Past and future loss of earnings and future earning capacity in a sum not yet fully
ascertained; and

c) Physical and emotional pain and suffering.

If you or your insurance carrier require additional information concerning this matter or
wish to discuss it in greater detail, please direct all further inquiries to the undersigned.

Sincerely,

Tracy Hurst-Castl

28128 Pacific Coast Highway, #150
Malibu, CA 90265

Cc: P.O. Box 35937
Las Vegas, NV 89133”

22.  Counterclaimant signed the letters, then her ex-husband Johnnie personally
delivered them to Wildeveld’s office to be mailed certified with the returned receipts requested
to be mailed back to their office. She was never notified that they received the returned receipts.

23. Then on May 12, 2020, Counterclaimant texted Ms. Rasmussen as follows:

“Hi Lisa...I received a call from a representative referencing the letter for Dr. Black

& Dr. Sherman. She left a message for me to contact her. Do you want me to

respond?”

Ms. Rasmussen’s response to text:
“Let’s talk first.”

Tracy’s response:
“Ok call me when convenient for you.”

24, On May 13, 2020, Counterclaimant texted Ms. Rasmussen:

“We should talk soon she tried calling me again and I’m hoping she doesn’t catch me off
guard calling from various/different numbers. Pls call me at your earliest convenience.”

 
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25. Then on May 26, 2020, Counterclaimant emailed Ms. Rasmussen notifying her
that she received a letter responding to her “90-Day Notice” that she sent out to the doctor’s.
Then the doctor’s insurance carrier responded as follows:

“Re: Malpractice Correspondence

Hi Lisa,

FYI-I received this letter in the mail Re: Dr. Black & Dr. Sherman response to the
letter.”

Letter from doctors insurance carrier states:

“Sedgwick
P.O. Box 17748
Lexington, KY 40512-4478

May 12, 2020

Ms. Tracy Hurst-Castl

28128 Pacific Coast Highway, #150
Malibu, CA 90265

P.O. Box 35937
Las Vegas, NV 89133

RE: Our Client: Keith Black, MD, Randolph Sherman, MD
Date of Loss: To be determined
Our File #: 2020687002

Dear Ms. Hurst-Castl:

Sedgwick is the third-party claims administrator for Cedars-Sinai Medical Center.
(“CSMC”), Keith Black, MD and Randolph Sherman, MD, CSMC referred your 5-4-2020
letters Sedgwick for further handling, and your claim has been assigned to me. Kindly direct all
future correspondence and inquiries regarding your claim to my attention at the above-noted
address. Please reference our file number on all correspondence.

Would you be so kind as to provide further details of the incident including your theories
of negligence as against Drs. Black and Sherman. I can be reached at 562-492-1842. If we are
unable to connect by phone, please email at: kate.locurto@sedgwick.com if you would like to set
up an appointment to discuss this matter by phone.

As a routine part of our investigation, it will be necessary to secure medical and hospital
records for your past and subsequent treatment. I have enclosed authorization forms for you to
sign allowing us to obtain those medical and/or hospital records. Be advised that the language in
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the release forms is dictated by State and Federal law and cannot be changed. Please complete
one form for each medical provider with whom you have treated and return original signed forms
to me as soon as possible. I will not need a medical authorization for Cedars-Sinai Medical
Center.

In addition to providing medical authorizations, please advise specifically what you are
claiming Drs. Black and Sherman did or failed to do that caused you injury that resulted in
damages. Please be specific as to nature of injury and damages. It is your responsibility as the
individual making a claim to provide the requested information and to prove your claim. You
will need to be able to show that the hospital failed to meet the standard of care and in failing to
meet the standard of care caused your injury. It is my responsibility to investigate allegations
and documentation presented by a person making a claim and to determine if the claim has merit.

Our undertaking of this investigation into your claim should not be construed as an
admission of liability, nor should this correspondence or our communications with you be
construed as a waiver of, or estoppels to, any affirmative defense available to Drs. Black and
Sherman, including but not limited to the Statute of Limitations.

Sincerely,

Kate LoCurto

Sr. Professional Liability Claim Specialist

Kate.LoCurto@sedgwick.com

(562)492-1842 Direct Line
(562)492-1865 Fax “

Ms. Rasmussen responded the same day as follows:

“Ok. I'll have to figure out how Ken recommends we respond
Lisa”

26. Thereafter Counterclaimant reasonably relied on Wildeveld’s legal advice that
they were keeping their promise to file the MEDICAL MALPRACTICE CASE and would
respond accordingly to the Cedar Sinai surgeons Sr. Professional Liability Claim Specialist Ms.
Kate LoCurto.

27.  Belatedly, Counterclaimant was shocked when she learned that Ms. Rasmussen
failed to respond to Ms. LoCurto’s voice messages and ignored her correspondence. Counter

defendant sabotaged Counterclaimant’s efforts for redress the doctor’s gross negligence.

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28. Counter Defendant (Lisa Rasmussen) was negligent, and intentionally failed to
communicate with Counterclaimant after her several requests asking for guidance and instruction
when Counterclaimant received a letter from Cedar Sinai’s Sr. Claims Specialist, Ms. LoCutos.
Counterclaimant promptly forwarded the letter, despite Counter Defendant knowing that
Counterclaimant was very ill needing their assistance and stated that she was incapable of
handling the matter on her own without legal knowledge and being so ill. The Counterclaimant
trusted The Law Office of Kristina Wildeveld & Associates Office to protect her rights as they

promised.

29. Ms. Rasmussen’s led Counterclaimant to believe that she was handling the
MEDICAL MALPRACTICE MATTER.
30. On May 21, 2020, Counterclaimant emailed Ms. Rasmussen and asked her as

follows:

“Have you heard from the California Lawyer has he made his decision if he will be
taking my case or not?”

Defendant (Lisa Rasmussen) intentionally failed to respond and ignored Counterclaimant
question.

31. Counterclaimant also notified Ms. Rasmussen of her upcoming surgery date June
24, 2020, in Florida and that she completed a “Continuity of Care Request Form” submitting to
her insurance carrier for payment approving her upcoming surgery in Florida, thereafter the
insurance carrier declined to pay for the Florida surgery. Counterclaimant also asked her if she
needed a specific kind of lawyer to assist her with the process in addressing the insurance
company declined coverage for her continuity of care. She stated it would be an uphill battle and
would contact an associate to assist her with finding a California surgical team that her insurance

company would cover.
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32. On May 21, 2020, Counterclaimant received an email response from Ms.
Rasmussen that states:
On May 21, 2020, at 6:55 PM, Lisa Rasmussen <Lisa@veldlaw.com> wrote:
“We need to find someone we can trust in your network. I think battling the

insurance company is too uphill and you need the surgery done.

Let me make a call to someone [| trust to find out more information.
Lisa”

33. Then on May 22, 2020, Ms. Rasmussen email introducing her associate Mr. Chip
as follows:

chip@nextgenmed.net

Fri 5/22/2020 4:11 PM

“Tracy and Chip,

I am introducing you in this email.

Chip, Tracy’s number is (702) 739-4464. She is cc’d in this email. I have talked to

Tracy and have explained attorney-client privilege and how awesome you are. I am also

sending you another email with more medical records from Florida and some narratives

that Tracy wrote on the timeline that I think will be helpful to you. Lisa”

34. Through email on June 1, 2020, Mr. Chip contacted Counterclaimant and agreed
to assist her in identifying a medical team, stating that’s what he does. Johnnie and

Counterclaimant had a telephone conversation to further discuss her complex medical procedure
and insurance carrier issues needing to identify a medical team that the insurance carrier would
cover. Nothing ever became of that conversation; Mr. Chip was unable to assist her.

35. On June 10, 2020, Counterclaimant emailed Ms. Rasmussen telling her that
Johnnie wanted to have a conversation with her about the MEDICAL MALPRACTICE CASE;
Counterclaimant also stated in her email that “Currently I’m not doing well mentally or

emotionally he certainly has his hands full care giving for me.” She stated he wanted to have

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a direct conversation with the San Diego Attorney that she supposedly recruited to co-counsel
with her.

36. On or around June 16, 2020, Johnnie and Ms. Rasmussen had a telephone
conversation that became heated where Ms. Rasmussen became very defensive with Johnnie
when he questions about her progress; he finally demanded Mr. Sigelman’s contact information,
wanting to have a direct conversation with him for more clarity. Ms. Rasmussen could not
answer most of Johnnie’s questions, she reluctantly provided him with Mr. Sigelman’s cellular
phone number.

37. Thereafter, approximately a week or so later, Johnnie and Counterclaimant had a
conference call with Mr. Sigelman, he asked many questions about the medical events leading up
to the discovered medical malpractice and answered Johnnie’s questions. The conversation
ended with Mr. Sigelman stating he would take another look at the case but would need
additional medical records, and that he was unsure of the Statute of Limitations due to the

COVID California tolling orders, he also stated he would do further research and will get back to

Attorney’s Wildeveld and Rasmussen.

38. On July 6, 2020, Counterclaimant emailed Ms. Rasmussen stating, she was
concerned about the PennyMac’s trial date and the Judge’s request to be notified the status of
Counterclaimants health condition 60-days prior to the trial date September 8, 2020. The Judge
requested to be noticed if the Counterclaimant would be unable to participate in the trial. Ms.
Rasmussen responded to Counterclaimants email stating:

“Pm not sure what to tell the court, maybe request an extension of this deadline?”

39.  Counterclaimant found it to be odd that Ms. Rasmussen responded with a
question, despite knowing the Judge’s prior request strictly to be notified. Ms. Rasmussen being

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the lawyer should have known how to answer with the appropriate motion/request, she was fully

aware of Counterclaimants current and ongoing medical condition at all times.

Counterclaimant asked in the same email:

“What is going on with Ken Sigelman? Johnny was contacting him directly.”
I responded on July 8, 2020 email:

“Hi Lisa,

Counterclaimant responded on July 8, 2020 stating:

Sorry for this delayed response. Yes I think its best we ask for an extension at this
point. We don’t really have a choice.

40. Johnnie and Counterclaimant had a conversation with Mr. Sigelman, and he
advised them that he would take another look at the case, but will need additional medical
records from Cedars Sinai’s surgeons that had been requested, and he had a concern referencing
Statute of Limitation may be a possible issue.

41. Because of Counterclaimant’s medical and mental condition she gave Johnnie a
POA to handle her business affairs and legal matters on her behalf, she also states in her email

(July 8, 2020) however, Ms. Rasmussen refused to recognize Johnnie as her advocate.
Thereafter, when they wanted to collect their legal fees, Ms. Wildeveld left several voice
message attempting to collect fees from Johnnie stating “you are the go to guy”.
Counterclaimant also states “I’m very fragile emotionally and physically unable to deal with
these issues it has become very overwhelming for me.”

42. Attorney’s Wildeveld and Rasmussen went silent on discussing anything about
the MEDICAL MALPRACTICE CASE and their progress. They purposely abandoned the
MEDICAL MALPRACTICE CASE without Counterclaimants knowledge then pivoted and
directed all her attention only onto the PennyMac case with immediacy of the upcoming trial

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date, despite knowing that she DID NOT notify the Judge and failed to disclose to
Counterclaimant. Ms. Rasmussen was well aware how ill she was with her energies and mind
strictly on finding the appropriate medical team. Ms. Rasmussen was also completely aware that
Counterclaimant was having extreme anxiety, experiencing daily panic attacks ruminating about
having to participate in a trial due to Ms. Rasmussen’s intentional negligence while suffering,
cognitively and medically and in a debilitated state.

43. Excerpt from January 5, 2021 email from Ms. Rasmussen to Counterclaimant and
attached Final Invoice No. 234; she states:

“We also worked to help you in addressing your potential medical malpractice issues. I

maintained a separate account for that and we are not billing you for that, but you should

know that I spent over 11 hours on that project and Kristina spent at least 3 hours on it.

We also incurred costs for the certified mailings we made on your behalf, all in an

attempt to preserve any claims you may have had with regard to potential medical

malpractice issues. Again, we are not billing you for that, but they were additional efforts

that we extended on your behalf.”

44. California has a one-year statute of limitations to file a medical malpractice claim.

45. The Counter Defendant failed to timely file the MEDICAL MALPRACTICE
CLAIM on behalf of the Counterclaimant and neglected to inform Counterclaimant that they had
resigned then secretly abandoned their efforts in pursuing the MEDICAL MALPRACTICE
claim, and failed to inform the Counterclaimant of the statute of limitation date. As a result, the
Counterclaimant can no longer sue the doctors personally.

46. Leaving a screw and sponge in the head of the Counterclaimant was gross
negligence under California law.

47. Defendant Counter Claimants emailed the Final Billing Invoice #234 to
Counterclaimant on January 5, 2021. Defendant Counter Claimants Proof of Claim #6 in this

case reflects on page 4 of 10 charging Counterclaimant for 32 missed monthly payments without

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having a written agreement for monthly payments and failed to provide Counterclaimant
monthly billing statements: May 2020-August 2020 & October 2020 through February 4, 2023.

48. _—_ Billing Invoice #234 reflects payments made on April 2020 and September 2020.
Counterclaimant made her initial installment of $2500.00 per Wildeveld’s “Attorney Fee”
(received paper receipt) then 5 days later on April 20, 2020 another installment of $2500.00
(received paper receipt)was made equaling the $5000.00 flat fee that was mutually agreed. See
April 20, 2020 email to Ms. Wildeveld from Counterclaimant “subject: Payment paid in full
today”.

49. Also, the Billing Invoice #234 reflects a payment that was made on September 10,
2020 for $2000 from Johnnie and his intention to reimburse Wildeveld for their out of pockets
expenses, deposition transcript & misc.court fees & costs etc...that Ms. Rasmussen complained
about on a telephone call mentioning the expense and having to pay for Counterclaimants last
minute Deposition Transcripts costing $1500 on a rush order.

50. Counter Defendants intentionally misrepresented the reimbursement Johnnie paid
to be a monthly payment to collaborate an untruthful scheme that Counterclaimant promised to
make monthly payments, but failed to provide her with monthly billing statements or delinquent
notices.

Sl.  Wildeveld’s Billing Invoice #234 pages 4 & 5 filed in their Proof of Claim #6 in
this case is a different version from the Counterclaimants version they provided her. “Matter —
Castl v. GS” is omitted from Counterclaimants version. Counter Defendants exposed wrongful
billing entries filing a fraudulent Proof of Claim #6 in this case and provided two different
versions of billing invoice #234, and has filed the same in various court records as exhibits in the
USDC CENTRAL DISTRICT OF CALIFORNIA The Law Offices of Kristina Wildeveld &

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Associates v. Tracy Lee Hurst, et al, Case No. 2:21-cv-03122-JAK-AGR and in the EIGHTH
JUDICIAL DISTRICT COURT, CLARK COUNTY, NEVADA Case No. A-21-829963).
Counter Defendants filed a different version of their Billing Invoice #234 in Proof of Claim #6 inl
this Bankruptcy case.

52. Counter Defendants failed to clarify their hourly rate and intentionally omitted it
from their untitled fee agreement. Unbeknownst to her Counter Defendants charged additional
fees for trial without a fee agreement or Counterclaimants consent accumulating charges and
excessive fees without Counterclaimant’s knowledge.

53. Counter Defendants purposely omitted several email communications from the
billing entries to only hide the truth and facts of the events that took place putting
Counterclaimant in a false light only to collaborate the dishonest and deceitful scheme to force
Counterclaimant and unwillingly to be financially indebted to Counter Defendants firm for their
gain and to position themselves to receive a financial judgment to lien her properties.

54. Counter Defendants failed to clarify their hourly rate and intentionally omitted it
from their untitled fee agreement. Unbeknownst to Counterclaimant, Counter Defendants
charged additional fees for trial without a fee agreement or Counterclaimants consent
accumulating charges and excessive fees without Counterclaimants’ knowledge.

55. Counter Defendants’ agreement fails to identify case matter, case title or case
number, also fails to describe Counter Defendants’ scope of work as was agreed.

56. Counter Defendants altered and fabricated the fee agreement to reflect $2000.00
monthly payments, which lacked Counterclaimants’ initials of acknowledgement beside the
written in “2000.” This was not contained in the agreement when Counterclaimant signed, it was

left blank.

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57. Counter Defendants failed to provide monthly billing statements or invoices or
delinquency notices. Counterclaimant received first Billing Invoice #196 on 10/2/2020 and
Revised Billing Invoice #206 on October 26, 2020 and then a Final Billing Invoice #234 on
January 5, 2021.

58. There are hourly rate discrepancies on 1st billing invoice ($650 & $600).

59. Counter Defendants failed to disclose their hourly billing rate and neglected to
discuss or present Counterclaimant with a fee agreement for additional legal fees and trial costs.

60. Counter Defendants unlawfully obtained Counterclaimants “SEALED” Divorce
Decree without a court hearing or order, and without Counterclaimants or her husband’s consent.
Counterclaimant was not afforded the opportunity to objection to unsealing her Divorce Decree.
In bad faith, Counter Defendants filed her Divorce Decree as an exhibit in their Motion for
Summary Judgment in the Wildeveld v. Castl case.

61. Additionally, Counter Defendant violated the HIPA act disclosing
Counterclaimants private medical records as exhibits in their Motion to Continue Trial Date on
September 1, 2020 Castl vs. PennyMac and was done without Counterclaimants’ authorization or
consent. Counter Defendant filed her medical records in a motion as an exhibit on the record
without Counterclaimants’ knowledge. A copy of the motion was emailed to Counterclaimant
after Counter Defendants had filed it.

62. Counter Defendants convinced Counterclaimant that she had no choice.
Counterclaimant provided her medical records only to be used for the medical malpractice claim
not the PennyMac civil case. Counter Defendants were provided numerous doctors’ letters for
evidence the detailed hospital records and various doctor progress reports were not necessary to
expose in violation of her medical privacy.

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63. | Onnumerous occasions Counter Defendants violated Attorney Client Privilege
disclosing private communications in Wildeveld’s complaint against Castl, including false
accusations that they know are untrue. They have used confidential information that was learned

while representing her, and then used information against Counterclaimant.

FIRST CLAIM FOR RELIEF
(Negligence-Legal Malpractice)
(All Counter Defendants)
63. Counterclaimant repeats and realleges each and every allegation set forth above in
paragraphs 1 through 62 and incorporate the same by reference as though fully set forth herein. -
59. The Counter Defendant was retained by the Counterclaimant to pursue a
MEDICAL MALPRACTICE CLAIM for leaving a screw and sponge in her head after surgery.
60. The Counter Defendant had a duty to preserve the Counterclaimant’s rights by

filing an action prior to the Statute of Limitations expiring.

61. The Counter Defendant breached its duty to the Counterclaimant by failing to file

a timely MEDICAL MALPRACTICE CLAIM.

62. The Counter Defendant direct failure proximately caused the Counterclaimant
damages by failing to timely file or preserves the Counterclaimants claim for MEDICAL
MALPRACTICE.

63. The Counterclaimant was damaged in excess of $1,000,000.00 as a direct result of

the Counter Defendant’s failure to preserve the Counterclaimant’s MEDICAL MALPRACTICE

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64. As aresult of Counter Defendant’s conduct, Counterclaimant has been required to
retain the services of an attorney in order to prosecute this action and is entitled to its attorneys’
fees and costs for having to prosecute this action.

SECOND CLAIM FOR RELIEF
(Breach of Contract)
(All Counter Defendants)

65.  Counterclaimant repeats and realleges each and every allegation set forth above in
paragraphs 1 through 64 and incorporate the same by reference as though fully set forth herein.

66. Counterclaimant and Counter Defendants entered into a valid and enforceable
contract when they executed the Agreement.

67. The consideration set forth in the Agreement was fair and reasonable.

68.  Counterclaimant had performed all conditions, covenants, and promises required
to be performed in accordance with the Agreement.

69. By reason of Counter Defendants failure to perform under the agreement, Counter
Defendants materially breached their obligations pursuant to the Agreement.

70. By reason of Counter Defendants material breach of the Agreement,
Counterclaimant has suffered damages in an amount in excess of $1,000,000.00.

71. It has been necessary for Counterclaimant to retain the services of an attorney to
prosecute this action and, therefore, Counterclaimant is entitled to reasonable attorney's fees and
costs, prejudgment interest, and such other and further relief the court deems proper resulting
from this action.

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THIRD CLAIM FOR RELIEF
(Breach of Implied Covenant of Good Faith and Fair Dealing)
(Against all Defendants)

72. Counterclaimant repeats and realleges each and every allegation set forth above in
paragraphs 1 through 71 and incorporate the same by reference as though fully set forth herein.

73. That there exists a valid and enforceable contract between Counterclaimant and
Counter Defendants as set forth above.

74, That each and every contract in incorporates an implied covenant of Good Faith
and Fair Dealing.

75. That in the contract averred herein, Counter Defendants owed to Counterclaimant
a duty in Good Faith and Fair Dealing.

76. That Counter Defendants breached their duty to Counterclaimant by performing
in a manner that was unfaithful to the purpose of the contract.

77. That as a consequence of Counter Defendants conduct, Counterclaimants’
justified expectations were denied, and Counterclaimant has sustained damages in excess of
$1,000,000.00, the exact amount of which shall be proven at the time of Trial of this matter.

78. It has been necessary for Counterclaimant to retain the services of an attorney to
prosecute this action and, therefore, Counterclaimant is entitled to reasonable attorney's fees and
costs, prejudgment interest, and such other and further relief the court deems proper resulting
from this action.

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FOURTH CLAIM FOR RELIEF

(Fraud)
(All Counter Defendants)

79. Counterclaimant repeats and realleges each and every allegation set forth above in
paragraphs 1 through 78 and incorporate the same by reference as though fully set forth herein.

80. On February 28, 2023 the Defendant Law Office of Kristina Wildeveld filed a
Proof of Claim #5.

81. On February 28, 2023 the Defendant Law Office of Kristina Wildeveld filed
Proof of Claim #6 and included Final Invoice #234. The Defendant exposed wrongful billing
entries filing a fraudulent Proof of Claim #6 in this case. They provided two different versions
of Billing Invoice #234, in various court records used as exhibits in the USDC CENTRAL
DISTRICT OF CALIFORNIA The Law Offices of Kristina Wildeveld & Associates v. Tracy
Lee Hurst, et al, Case No. 2:21-cv-03 122-JAK-AGR and in the EIGHTH JUDICIAL DISTRICT
COURT, CLARK COUNTY, NEVADA Case No. A-21-829963 filing a different version then
the version filed in this case.

82. The Billing Invoices were wrongfully tampered with and adjusted.

83. Pages 4 & 5 of Billing Invoice #234 filed in the Defendants Proof of Claim #6 are
clearly different versions.

84. _—_ Billing Invoice #234 reflects TWO MATTERS on pages 4 & 5; CASTL VS. GS
matter (Medical Malpractice) and CASTL VS. PENNYMAC matter; a different version was
filed in THE LAW OFFICES OF KRISTINA WILDEVELD & ASSOCIATES VS. TRACY
LEE HURST, ET AL CASE NO.A-21-829963 lawsuit against Counterclaimant reflects only
ONE MATTER. Counter Defendants also included a copy of the “written agreement” untitled

and Counterclaimant alleges the “written agreement” was altered and fabricated after she had
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signed it. Counter Defendants failed to provide her a copy of the “written agreement”
immediately after being executed.

85. That as aresult of Counter Defendant(s)’ conduct, it has become necessary for
Counterclaimant to retain the services of an attorney to prosecute this matter, and
Counterclaimant is entitled to an award of Plaintiffs reasonable attorneys’ fees and costs incurred
herein.

See attached EXHIBITS “A”, “B”, and “C.”

WHEREFORE, Defendant/Counterclatmant TRACY LEE HURST-CASTL prays for
judgment against Plaintiff/Counter Defendants THE LAW OFFICES OF KRISTINA
WILDEVELD & ASSOCIATES, LISA A. RASMUSSEN, ESQ., and KRISTINA
WILDEVELD, ESQ., as follows:

1. A judgment in an amount in excess $1,000,000.00.

2. Reasonable attorneys’ fees and all costs of the suit which were necessarily

incurred herein;

3, Punitive damages; and

4. For such other and further relief as this Court may deem just and proper.

DATED this 30" day of June 2023.

STEVEN L. YARMY, ATTORNEY AT LAW

/s/Steven L. Yarmy, Esq.
Steven L. Yarmy, Esq.
Nevada Bar No. 8733
7464 West Sahara Avenue
Las Vegas, Nevada 89117
(702) 586-3513
(702) 586-3690 FAX
sly@stevenyarmylaw.com
Attorney for Adversary Defendant/Counterclaimant
Tracy Lee Hurst-Castl
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PROOF OF SERVICE

I HEREBY CERTIFY under penalty of perjury that on June 28, 2023, true and correct
copies of the foregoing DEFENDANT TRACY LEE HURST-CASTL’S AMEMDED
COUNTERCLAIM were delivered via CM/ECF and properly addressed to following:

Via CM/ECE system to:

LISA A RASMUSSEN on behalf of Plaintiff THE LAW OFFICES OF KRISTINA
WILDEVELD & ASSOCIATES

Lisa@veldlaw.com, alex@veldlaw.com
Via U.S. First Class Mail Postage Prepaid to:

LISA A. RASMUSSEN, ESQ.

THE LAW OFFICES OF KRISTINA
WILDEVELD & ASSOCIATES

550 E. Charleston Blvd.

Suite A

Las Vegas, NV 89104

KRISTINA WILDEVELD, ESQ.
THE LAW OFFICES OF KRISTINA
WILDEVELD & ASSOCIATES

550 E. Charleston Blvd.

Suite A

Las Vegas, NV 89104

Dated this 30" day of June 2023.

/s/Steven L. Yarmy, Esq.

Steven L. Yarmy, Esq.

Nevada Bar No. 8733

7464 West Sahara Avenue

Las Vegas, Nevada 89117

(702) 586-3513

(702) 586-3690 FAX

sly@stevenyarmylaw.com

Attorney for Adversary Defendant/Counterclaimant
Tract Lee Hurst-Castl

H/

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EXHIBIT “A”

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EXHIBIT A

TRACY L. HURST-CASTL’S VERSION OF BILLING
INVOICE #234
Case 23-01089-mkn Doc9_ Entered 06/30/23 10:37:44 Page 27 of 42

 

 

 

 

 

500 € Charleston Bivd., Suite A
Las Vegas, NV 89104
702-222-0007

January 05, 2021

Tracey Hurst
Hurst-Castl, Tracy

Invoice Number: 234
Invoice Period: 09-01-2020 - 01-05-2021

Payment Terms: Upon Receipt

 

RE: Casti vs PennyMaC

Time Details

Date Professional Description Hours Rate Amount

09-30-2020 Lisa Reviewed Pennymac’'s Proposal order. 0.20 — 600.00 120.00
Rasmussen

10-01-2020 Lisa Meeting with Tracy and Johnnie. 1.00 600.00 600.00
Rasmussen

10-01-2020 Lisa Review order to prepare for meeting 0.20 600.00 120.00
Rasmussen

10-02-2020 Lisa Revise Pennymac's proposed order detailed 3.26 600.00 1,920.00
Rasmussen comments, .

10-02-2020 Lisa Emait corresporidence to arid from opposing 0.20 . 600.00 $20.00

: Rasmussen counsel (x8) regarding proposed order.

10-03-2020 Lisa Emails to and from opposing counsel regarding 0.30 600.00 180.00
Rasmussen my revisions. .

70-04-2020 Lisa Prepare our own proposed order; research ort 4.30 600.00 2,580.00
Rasmussen standing issue. , ,

10-05-2020 Lisa Emails with opposing counsel and Tracy 0.30 600.00 180.00
Rasmussen fegarding proposed order.

We appreciate your business and your confidence in our firm.

Page 1 of 5
Case 23-01089-mkn

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We appreciate your business and your confidence in our firm.

Date _ Professional Description Hours Rate Amount
10-06-2020 Lisa Revisions to FFCOL per emails with Brittany 0.50 600.00 300.00
Rasmussen . Wood; email regarding same.
‘40-06-2020 Lisa Additional revisions and emails with Brittany. 0.30 600.00 180.00
Rasmussen. — Email to client.
10-06-2020 Lisa Additional research on standing issue 1.00 600.00 600.00
Rasmussen
10-07-2020 Lisa Prepare our own proposed order and submit to 0.70 600.00 420.00
Rasmussen the Court as a contested order.
10-09-2020 Lisa Additional research on standing issue; there is 0.90 600.00 540.00
Rasmussen no good case law supporting our position.
10-27-2020 Lisa Meeting with Tracy requesting plan for payment 0.70 ‘No Charge
Rasmussen. of legal fees. No charge for this meeting.
41-13-2020 Lisa Email correspondence to and from Rex Gardner, 0.10 600.00 60.00
Rasmussen asking if we can resolve; email to Tracy re same,
11-16-2020 Lisa Follow up emails to Rex letting him know | 0.10 600.00 60,00
Rasmussen conveyed his message about proposed
resolution.
41-30-2020 Lisa Email correspondence to and from Tracy 0.10 600.00 60.00
Rasmussen regarding proposed resolution.
12-04-2020 Lisa Review proposed findings of fact, conclusions of 0.20 600.00 120.00
Rasmussen law and order; review notice entry of judgment.
12-04-2020 Lisa Emails to Tracy with order, findings, notice of 0.10 600.00 60.00
Rasmussen entry of judgment, advising of deadline for
appeal.
12-18-2020 Lisa Email from Tracy; prepare sub of attorney and 0.30 600.00 180.00
Rasmussen email fo her.
12-30-2020 Lisa Email cotrespondence to and from Tracy 9.20 No Charge
Rasmussen regarding sub of attorney; file sub of attorney.
No charge for this.
72-30-2020 Lisa Download alt emails; organize and prepare 7.00 No Charge
Rasmussen electronic file on flash drive for Tracy. Courtesy
no charge for this.
Total 8,400.00
Time Summary
Professional Hours Amount
Lisa Rasmussen 15.90 8,400.00

Page 2 of 5
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Professional Hours Amount
Total 8,400.00
Expenses
Expense Description Price Qty Amount
E112 - Court fees E112 - Court fees oo 3.50 1 3.50
E1742 - Court fees E112 ~ Court fees ‘3.50. 4 3.50
None Pacer Quarterly Charges - 3rd Qtr. (157 pp). 15.70 1 15.70
Total Expenses 22,70
Total for this Invoice 8,422.70

We appreciate your business and your confidence in our firm. Page 3 of 5
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Client Statement of Account
As of 01-05-2021

Matter Balance Due
Castl vs PennyMaC 59,998.58

Total Amount to Pay 59,998.58

 
   

Transactions

 

Date Transaction Applied Invoice Amount
09-29-2020 Previous Balance 51,575.88
01-05-2021 = Invoice 234. 8,422.70

Balance 59,998.58
Open Invoices and Credits

 

Date _ Transaction Amount Applied Balance
04-14-2020 Payment (2,500.00) (2,500.00)
04-20-2020 Payment (2,500.00) (2,500.00)
09-10-2020 Payment (2,000.00) (2,000.00)
09-29-2020. Invoice 206. 58,575.88. 58,575.88-
01-05-2021 Invoice 234 8,422.70 8,422.70

Balance 59,998.58

We appreciate your business and your confidence in our firm. Page 4 of 5
Case 23-01089-mkn Doc9_ Entered 06/30/23 10:37:44 Page 31 of 42

Tracey Hurst
Hurst-Castl, Tracy

January 05, 2021

‘The Law Offices of Kristina Wildeveld & Associates
500 E Charleston Bivd., Suite A
Las Vegas, NV 89104

invoice Number: 234
Invoice Period: 09-01-2020 - 01-05-2021

 

 

 

REMITTANCE COPY
RE: Cast! vs PennyMaC

Fees 8,400,00
Expenses 22.70
Total for this Invoice 8,422.70
Previous Balance 51,575.88
Matter Baiance Due
Cast! vs PennyMaC 59,998.58
Total Amount to Pay 59,998.58

Open invoices and Credits
Date Transaction Matter Amount Applied Balance
04-14-2020 Payment Castl vs PennyMaC (2,500.00) . (2,500.00)
04-20-2020. Payment Casil vs PennyMac. (2,500.00). (2,500.00).
09-10-2020 Payment Castl vs PennyMaC (2,000.00) (2,000.00)
09-29-2020 Invoice 206 Castl vs PennyMaC 58,575.88 58,575.88
01-05-2021 Invoice 234 Castl vs PennyMaC 8,422.70 8,422.70

Balance 59,998.58

We apopreciate vour business and vour confidence in our firm. Page 5 of 5
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EXHIBIT “B”

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EXHIBIT B

THE LAW OFFICES OF KRISTINA WILDEVELD &
ASSOCIATES

PROOF OF CLAIM NO. 6
DIFFERENT VERSION OF BILLING INVOICE #234
Case 23-01089-mkn Doc9 _ Entered 06/30/23 10:37:44 Page 34 of 42
Case 23-10410-mkn Claim6-1 Filed 02/28/23 Page 4 of 10

TTEMIZED STATEMENT OF PRINCIPAL AND ADDITIONAL FEES

The principle amount owed by Debtor is $59,998.59. See Exhibit A.

Debtor agreed that an additional fee of $50.00 would be applied to her balance each month that
she missed a payment. See Exhibit B.

Debtor retained Creditor in April 2020 and made payments in the months of April 2020 and
September 2020. See Exhibit A. Prior to the filing of the Petition in this case on February 4, 2023,
Debtor missed making thirty-two (32) monthly payments, as follows:

TRACY LEE HURST CASTL PAYMENTS

 

 

 

NP = No Payment Made
P = Payment Made

 

 

2020 2021 2022 2023
January — NP January — NP January — NP
February — NP February — NP
March — NP March ~NP —

” Aprit~P April — NP April - NP

May — NP May — NP May — NP

June — NP June — NP June — NP.

July — NP July — NP July — NP

August—NP August — NP August — NP

September — P September — NP September — NP

October — NP October — NP October — NP
November — NP ‘November — NP November — NP
December — NP December — NP December — NP

 

At $50.00 per each of the thirty-two (32) unpaid months, Debtor’s delinquent payment fees total
$1,600.00 ($50.00 x 32 months). See Exhibits A and B.

Debtor’s total amount owed, $59,998.58 (principal) plus $1,600.00 (fees), is $61,598.58.
Case 23-01089-mkn

Case 23-10410-mkn ChE

  

    

 

 

 

 

 

 

 

500 E Charleston Bivd., Suite A
Las Vegas, NV 89104
702-222-0007

Tax ID:

Tracey Hurst
Hurst-Castl, Tracy

Payment Terms: Upon Receipt

RE: Casti vs PennyMaC

Time Details

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January 05, 2021

Invoice Number: 234

Invoice Period: 09-01-2020 - 01-05-2021

 

We appreciate your business and your confidence in our firm.

Date Professional —_ Description Hours Rate Amount
09-30-2020 Lisa Reviewed Pennymac's Proposal order. 0.20 600.00 120.00
Rasmussen
40-01-2020 Lisa Review order to prepare fer meeting 0.20 600.00 120.06
‘ Rasmussen
10-01-2020 Lisa Meeting with Tracy and Johnnie. 1.00 600.00 600.00
Rasmussen
10-02-2020 Lisa Email correspondence to and from opposing 0.20 600.00 120.00
Rasmussen counsel (x8) regarding proposed order.
10-02-2020 Lisa Revise Pennymac's proposed order detailed 3.20 600.00 1,920.00
Rasmussen comments.
10-03-2020 Lisa Emails to and from opposing counsel regarding 0,30 600.00 186,00
Rasmussen my revisions.
10-04-2020 Lisa Prepare our own proposed order; research on 4.30 600.00 2,580.00
Rasmussen standing issue.
* 40-05-2020 Lisa Emails with opposing counsel and Tracy 0.30 600.00 180.00

Page 1 of 5
Case 23-01089-mkn

Date

Case 23-10410-mkn Claim6-1 Filed 02/28/23 Page 6 of 10

Professional

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Description Hours Rate Amount
Rasmussen regarding proposed order.
10-06-2020 Lisa Revisions to FFCOL per emails with Brittany 6.50 600.00 300.00
Rasmussen Wood; email regarding same.
10-06-2020 Lisa Additional research on standing issue 1.00 600.00 600,00
Rasmussen
10-06-2020 Lisa Additional revisions and emails with Brittany. 6.30 600.00 180.00
Rasmussen Email to client.
10-07-2020 Lisa Prepare our own proposed order and submit to 0.70 600.00 420.00
Rasmussen the Court as a contested order.
10-09-2020 Lisa Additional research on standing issue; there is 0.90 600.00 540.00
Rasmussen no good case law supporting our position.
10-27-2020 Lisa Meeting with Tracy requesting plan for payment 0.70 No Charge
Rasmussen of legal fees. No charge for this meeting.
11-13-2020 Lisa Ernail correspondence to and frorn Rex Gardner, 0.10 600.00 60.00
Rasmussen asking if we can resolve; email fo Tracy re same.
41-16-2020 Lisa Follow up emails to Rex letting him know | 0.10 600.00 60.00
Rasmussen conveyed his message about proposed
resolution.
11-30-2020 Lisa Email correspondence to and from Tracy 0.10 600.00 60.00
Rasmussen regarding proposed resolution.
12-04-2020 Lisa Review proposed findings of fact, conclusions of 0.26 600.00 120.00
Rasmussen law and order; review notice entry of judgment.
12-04-2020 Lisa Emails to Tracy with order, findings, notice of 0.10 600.00 60.00
Rasmussen entry of judgment, advising of deadline for
appeal.
12-18-2020 Lisa Email from Tracy; prepare sub of attorney and 0.30 600.00 180.00
Rasmussen email to her.
{2-30-2020 Lisa Email correspondence to and from Tracy 0.20 No Charge
Rasmussen regarding sub of attorney; file sub of attorney.
No charge for this.
42-30-2020 Lisa Download all emails; organize and prepare 1.00 No Charge
Rasmussen électronic file on flash drive for Tracy. Courtesy
no charge for this.
Total 8,400.00
Time Summary

We appreciate your business and your confidence in our firm.

Page 2 of 5
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Case 23-10410-mkn Claim 6-1 Filed 02/28/23 Page 7 of 10

Professional

 

 

Hours Amount
Lisa Rasmussen 15.90 8,400.00
Fotal 8,400.00

Expenses .
Expense Description , Price Qty Amount
E112 - Court fees E112 - Court fees 3.50 1 3.50
E712 - Court fees E112 - Court fees 3.50 4 3.50
None Pacer Quarterly Charges - 3rd Qtr. (157 pp). 15.70 1 15.70
Total Expenses 22.70
Total for this Invoice 8,422.70

We appreciate your business and your confidence in our firm. Page 3 of 5
Case 23-01089-mkn Doc9 _ Entered 06/30/23 10:37:44 Page 38 of 42
Case 23-10410-mkn Claim 6-1 Filed 02/28/23 Page 8 of 10

Client Statement of Account
As of 08-31-2021

 

Matter Balance Due
Castt vs GS 6,886.30
Cast! vs PennyMaC 59,998.58

Total Amount to Pay 66,884.88

 

 

 

 

 

Transactions

Date Transaction oe Applied Invoice Amount

09-29-2020 Previous Balance 6,886.30
Balance 6,886.30

Open Invoices and Credits

Date Transaction Amount Applied Balance

09-29-2020 invoice 252 . 6,886.30 6,886.30
Balance 6,886.30

Transactions

Date Transaction. . Applied Invoice Amount

08-28-2020 Previous Balatice 51,575.88

01-05-2021 Invoice 234 8,422.70

Balance 59,998.58
Open Invoices and Credits

 

Date Transaction Amount Applied Balance
04-14-2020 Payment (2,500.00) (2,500,00}
04-20-2020 Payment (2,500.00) (2,500.00)
09-10-2020 Payment (2,000.00) (2,000.00)
(09-29-2020 Invoice 206 58,575.88 58,575.88
01-05-2024 Invoice 234 8,422.70 8,422.70

Balance 59,998.58

We appreciate your business and your confidence in our firm. Page 4 of 5
Case 23-01089-mkn

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Tracey Hurst
Hurst-Castl, Tracy

The Law Offices of Kristina Wildeveld & Associates

500 E Charteston Bivd., Suite A

Las Vegas, NV 89104

January 05, 2021

invoice Number; 234

invoice Period: 09-01-2020 - 01-05-2021

 

 

REMITTANCE COPY
RE: Castl vs PennyMaC
Fees 8,400.00
Expenses 22.70
Total for this Invoice 8,422.70
Previous Balance 58,462.18
Matter Balance Due
Castl vs GS 6,886.30
Castl vs PennyMaCG 59,998.58

Open Invoices and Credits

Total Amount to Pay 66,884.88

 

Date Transaction Matter Amount Applied Balance
04-14-2020 Payment Castl vs PennyMaC (2,500.00) (2,500.00)
04-20-2020 Payment Cast] vs PennyMaC (2,500.00) (2,500.00)
09-10-2020 Payment Castl vs PennyMaC (2,000.00) (2,000.00)
09-29-2020 = Invoice 206 Casti vs PennyMaC 58,575.88 58,575.88
09-29-2020 Invoice 252 Casti vs GS 6,886.30 6,886.30
01-05-2021 = Invoice 234 Castl vs PennyMaC 8,422.70 8,422.70

Balance 66,884.88

We appreciate your business and your confidence in our firm. Page 5 of 5
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EXHIBIT “C”

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EXHIBIT C

THE LAW OFFICES OF KRISTINA WILDEVELD & |
ASSOCIATES

PROOF OF CLAIM NO. 6
UNTITLED AGREEMENT/“WRITTEN AGREEMENT”
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Case 23-10410-mkn Clin esr i prey Re Page 10 of 10 .

THE LAW OFFICES OF KRISTINA WILDEVELD & ASSOCIATES DATE: Sf {20
www.veldiaw.com Referred By:

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First Name: Middle Name:

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below. Any outstanding balancellees owed are due no later than seven (7) days prior to... ___., PH, Trial, entry of plea,
deniatidismissal of charges or whichever occurs first, regardless of any payment plan scheduled. All criminal retainers are deemed eamed
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otherwise specifically stated herein, this agreement does not include representalion at Trial or obligate the Law Firm or member attorneys
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fees, This fee does not include any applicable charges that may be incurred, including but not limited to restitution, fines, court fees,
discovery fees, filing fees, witness fees, investigator costs, collection costs, travel fees, or any other miscellaneous fees. Client is solely
responsible for all fees incurred and must pay all fees upon notice of the sate, Pardons and Parole Petitions are considered the
intellectual property of The Firm and are non-transferable or discoverable. The client file is the property of The Law Firm uniess all of the
fees are paid in full. Abuse and Neglect representation is for a 1 year period. Additional time will require ari additional contract. There is a
_$75.00 fee to pull closed files plus copy fees of $0.35 per page. _

AGREEMENT FOR REPRESENTATION: | HEREBY RETAIN KRISTINA WILDEVELD, ESQ. & ASSOCIATES (“Law Firm”)
The Law Firm is hereby engaged to represent: lara eee inthe above matter(s}. Client{s) and. : eo
designated Fee oo aes agree(s) to pay the Law Firm a retainer ee as described above in exchange for | Retainer: $ 2, 000.7~
the specified legal services in connection with. the matter(s} indicated herein, 1 understand that the Law Firm | C DC CC MO CK:
may associate or employ other counsel or marketing representative at the Law Firm's discretion provided there Payment Dates:
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